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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:05CR3035
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )           MEMORANDUM
                                         )           AND ORDER
JOSE ENRIQUE AYALA CHAVEZ,               )
                                         )
                   Defendant.            )

      On the oral motion of defense counsel,

      IT IS ORDERED that Defendant Chavez’s sentencing is continued to Thursday,
March 23, 2006 at 12:00 noon, before the undersigned United States District Judge,
in Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. Since this is a criminal case, the defendant shall be
present unless excused by the court.

      February 13, 2006.                       BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
